          Case 2:19-mj-01751-DUTY Document 1 Filed 04/27/19 Page 1 of 31 Page ID #:1
AO 91 (Rev. 11/11) Criminal Complaint


                               UNITED STATES DISTRICT COURT
                                                        for the                               ""^~ ~-,• DISTRICT
                                                                                                                   COURT
                                             Central District of California
                                                                                                 a~R 2 ~ 2o►s
 United States of America,
                                                                                       ~~~~;
                                                                                        r t~~ D►5TRIcr OF CA:
                                                                                          --_..._
                  Plaintiff

                  v.
                                                                   Case No.              1A
 Mark Domingo,                                                                                '~~
                                                                                                         O~
                  Defendant


                                           CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

Beginning on an unknown date and continuing until April 26, 2019, in the county of Los Angeles in the Central

District of California, the defendant violated:

           Code Section                                           Offense Description

           18 U.S.C. § 2339A                                      Providing and Attempting to Provide
                                                                  Material Support to Terrorists

         This criminal complaint is based on these facts:

          Please see attached affidavit.

         D Continued on the attached sheet.



                                                                                      Complainant s signature

                                                                           Tashi Coolidge, Special Agent
                                                                                  ~ ! Pri,t     name and title
 Sworn to before me and signed in my presence.                                    ~      ~-

 Date:                 ~ V ~1                                                 1
                                                                                         Judge's signature

 City and state: Los Angeles, California                           Hon. Michael R. Wilner, U.S. Magistrate Judge
                                                                                      Printed name and title
Case 2:19-mj-01751-DUTY Document 1 Filed 04/27/19 Page 2 of 31 Page ID #:2




                                   T L1L'~ T T'1~ ~ 1T T




        I, Tasha Coolidge, being duly sworn, declare and state as

follows:
                              I.    INTRODUCTION


        1.      I am a Special Agent with the Federal Bureau of

Investigation ("FBI"), and have been so employed since March

2018.        I am currently assigned to the Joint Terrorism Task Force

(~~JTTF") of the Los Angeles Field Division.                   Before becoming a

Special Agent, I was on active duty in the United States Air

Force Security Forces, serving eight years overseas, with an

overall mission to deter, detect and mitigate criminal and

terrorist activity.       During this time I had numerous

responsibilities such as, protecting high-valued U.S. assets,

dignitary support, anti-terrorism measures, and fly-away

missions.       In total, I have been sworn to protect and serve the

United States for nearly ten years.                    During my career, I have

gained a broad expertise covering weapon systems, law

enforcement, operational terrorist cells, and counter-insurgency

measures.       Through the course of my training and employment with

the FBI, I have used a variety of investigative techniques and

resources, including, surveillance, confidential sources, search

warrants, evidence seizures, and telephone toll analysis.                     I am

familiar with strategy, tactics, methods, tradecraft, and

techniques of criminals, terrorists, and their agents.                   During

m y employment with the FBI, I attended 21 weeks of New Agent

Training at the FBI Academy in Quantico, Virginia.                   I have

received both formal and informal training from the FBI

                                          1
Case 2:19-mj-01751-DUTY Document 1 Filed 04/27/19 Page 3 of 31 Page ID #:3




regarding criminal and counterterrorism investigations.            I have

also attended training concerning the use of electronic

communications and computers in furtherance of crime.

                    II.   PURPOSE OF THE AFFIDAVIT

      2.   This affidavit is submitted in support of a criminal

complaint charging defendant Mark Steven Domingo (~~DOMINGO")

with Providing and Attempting to Provide Material Support to

Terrorists, in violation of Title 18, United States Code, 2339A

(the ~~Subject Offense").1

                    III. SUMMARY OF PROBABLE CAUSE

      3.   In March and April 2019, DOMINGO planned and took

steps to manufacture and use a weapon of mass destruction in

order to commit mass murder.      On April 23 and 24, 2019, DOMINGO

purchased several hundred nails to be used as shrapnel inside an

explosive device, and provided the nails to a person whom

DOMINGO believed to be a collaborator, but who was in fact an

undercover law enforcement officer (~~UC") working for the FBI,

for the purpose of having the UC manufacture weapons of mass

destruction for DOMINGO to use in an upcoming attack.         As

discussed below, on April 26, 2019, DOMINGO met the UC,

inspected the items DOMINGO believed were weapons of mass

destruction (but unbeknownst to him were actually inert), and

finalized plans to commit the attack on Sunday April 28, 2019.


     1 Title 18, United States Code, Section 2339A, makes it
unlawful to provide or attempt to provide material support or
resources, knowing or intending that they are to be used in
preparation for, or in carrying out, a violation of certain
specified offenses, including Title 18, United States Code,
Section 2332a (Use of a Weapon of Mass Destruction).

                                    2
Case 2:19-mj-01751-DUTY Document 1 Filed 04/27/19 Page 4 of 31 Page ID #:4




                   IV.   STATEMENT OF PROBABLE CAUSE

      4.     The facts set forth in this affidavit are based in

part on: information provided to me by other law enforcement

officers; law enforcement reports; information obtained from

witnesses; my personal observations; and my experience,

training, and background as an FBI Special Agent.        This

affidavit is intended to show merely that there is sufficient

probable cause for the requested complaint, arrest warrant, and

search warrants, and does not purport to set forth all of my

knowledge of or investigation into this matter.        Unless

specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and in part only with quoted language appearing in draft form

only, and all dates and times are approximate.

A.    DOMINGO Posts About His Support for Violent Jihad and
      Committing a Large-Scale Terrorist Attack

      5.    According to reports provided by an FBI online covert

employee ("OCE"), in March 2019, the OCE identified a user of an

online platform (hereinafter USERNAME 1) in a private message

group.     On March 2, 2019, USERNAME 1 posted a link to a video in

which he introduced himself as ~~Mark Domingo," and declared the

shahada.z

      6.    FBI Agents reviewed DOMINGO'S California Department of

Motor Vehicles records, and saw that the person in the video

appeared to be DOMINGO.     FBI Agents also reviewed records



      2 Based on my training and experience, I am aware that the
shahada is the profession of faith and the first tenet of Islam:
~~There is no god but Allah, and Muhammad is the messenger of
Allah."

                                    3
Case 2:19-mj-01751-DUTY Document 1 Filed 04/27/19 Page 5 of 31 Page ID #:5




provided by the platform, which showed that the USERNAME 1

account was associated with email address

m.domingo2014@hotmail.com, and telephone number 931-249-5283.

According to records provided by Microsoft, the name associated

with the m.domingo2014@hotmail.com e-mail address is ~~Mark

Domingo."

      7.    According to Department of Defense records, DOMINGO

was also previously an active duty U.S. Army Infantryman.          He

was assigned to Fort Campbell, Kentucky, and then deployed to

Afghanistan from September 10, 2012 to January 16, 2013.

      8.    FBI agents have reviewed online posts provided by the

OCE in which DOMINGO described his support for violent jihad and

his aspiration to conduct an attack in the Los Angeles area.

            a.   On March 3, 2019, DOMINGO posted, "america needs

another vegas event tbh 3 something to kick off civil unrest [. .

.] and its not about winning the civil war its about weakening

america giving them a taste of the terror they gladly spread all

over the world."    Based on my training and experience, I believe

that DOMINGO'S description of "another vegas event" is a

reference to the October 1, 2017 mass shooting in Las Vegas,

Nevada, which killed 59 people.

            b.   On March 14, 2019, DOMINGO posted, "there were

mosque shootings in new Zealand [sad emoji] [           .] there

mustbe retribution."     Based on my training and experience and




     3 Based on my training and experience, I am aware that ~~tbh"
is used in electronic communications as shorthand for ~~to be
honest."
Case 2:19-mj-01751-DUTY Document 1 Filed 04/27/19 Page 6 of 31 Page ID #:6




knowledge of this investigation, I believe DOMINGO was referring

to the March 13, 2019 mass shootings at two mosques in

Christchurch, New Zealand, which killed 50 people.

Also on March 14, 2019, DOMINGO posted, "I feel like I should

make a Christians life miserable tomorrow for our fallen bros n

sis in new Zealand [.      .] maybe a jews life idk4 [.      .] they

shed our blood [.     .] no Muslim should have to experience this,

a message needs to be sent."

B.   DOMINGO Expresses His Intent to Kill Americans to Retaliate
     for the Mass Shooting in New Zealand

      9.   According to the OCE, on March 14, 2019, after

observing DOMINGO'S posts regarding retaliating for the New

Zealand mass shooting, the OCE initiated a private online

conversation with DOMINGO, in which they discussed their anger

about that mass shooting.     In those messages, DOMINGO wrote, ~~im

jus enraged atm5 [.     .] these fuckers do need to bleed [.        .]

one way or another."     The OCE cautioned DOMINGO that police

would be ready the next day, and that any sort of retaliatory

response would require planning.        In discussing with the OCE how

many people DOMINGO would like to kill in retaliation, DOMINGO

wrote: ~~one [individual]? was thinking more like a group theres

a bunch of Jews around this one street not alot of parking so

theyre forced to find parking and walk to the synagogue."         Later




      4 `~Idk" is short for ~~I don't know."
     5 Based on my training and experience, I am aware that "atm"
is short for "at the moment."

                                    5
Case 2:19-mj-01751-DUTY Document 1 Filed 04/27/19 Page 7 of 31 Page ID #:7




in the conversation, DOMINGO wrote that ~~the yahud6 go on

saturday for their worship," and that the area was upscale and

had a lot of businesses and surveillance cameras.

      10.   On March 16, 2019, an FBI Confidential Human Source'

(~~CHS"), who also maintained an online account and was in the

same private message group as DOMINGO and the OCE, sent a

private message to DOMINGO asking how he was feeling.         DOMINGO

responded, "still mad [.      .] even more so [.      .] since I

watched the vid."    Based on my training and experience and

knowledge of this investigation, I believe "the vid" was a

reference to live footage of the New Zealand shootings, which

the perpetrator streamed online during the attacks and which has

subsequently been reposted on the Internet.

      11.   DOMINGO continued, ~~how my bros n sis died [.         .] i

took my ak out [.     .] its been by my bed."      Based on my

training and experience, I know that `yak" is a common shorthand

reference to a Kalashnikov-manufactured assault rifle, the most

commonly known model of which is referred to as an AK-47.

According to a law enforcement database, DOMINGO has three

firearms registered to him: a Century Arms Wassenaar Arrangement

semi-automatic rifle (WASR 10), which is an AK-47 style rifle; a

Tulski-Korovin SKS semi-automatic rifle; and a Zastava M 48

bolt-action rifle.



     6 Based on my training and experience, I am aware that Yahud
is an Arabic word for Jews.
     ~ The CHS has worked with the FBI since approximately August
2013. In total, the CHS has been paid approximately $304,524.
The CHS does not have a criminal history.

                                    C
Case 2:19-mj-01751-DUTY Document 1 Filed 04/27/19 Page 8 of 31 Page ID #:8




      12.    Later in their conversation, DOMINGO suggested that he

and the CHS meet in person, and they agreed to meet the

following week.

C.    DOMINGO Meets CHS on March 18, 2019 and Proposes Ideas for
      Committing a Terrorist Attack

      13.    On the evening of March 18, 2019, the CHS and DOMINGO

met in person to eat dinner and attend a prayer service.           The

meeting was audio recorded.      During that meeting, as detailed

below, DOMINGO discussed with the CHS different targets for an

attack, including Jews, police officers, churches, and a

military facility.

      14.    DOMINGO and the CHS discussed the wars in Iraq and

S yria, and the activities of Al-Qa'ida and the Islamic State of

Iraq and al-Sham (~~ISIS")      After the CHS said Al-Qa'ida was

"not doing anything," DOMINGO said, ~~Well, they'll, they'll

plant IEDs."      Based on my training and experience, I believe

that "IEDs" is a reference to Improvised Explosive Devices.

DOMINGO characterized Al-Qa'ida's tactics as "sort of hit and

run [.      .]   They'll shoot, then they'll run away [.      .] then

the Americans get mad.      Then they go murder Muslims [.      .]

This is why I like - I like al-Baghdadi, yeah, `cuz he took the

direct stance [.      .] victory or martyrdom."~     Based on my

training and experience, I believe ~~al-Baghdadi" was a reference

to Abu Bakr al-Baghdadi, the leader of ISIS.




     g Based on my training and experience, I know that among
violent Islamic extremists, the term martyr means one who dies
for Islam through violent jihad.

                                    7
Case 2:19-mj-01751-DUTY Document 1 Filed 04/27/19 Page 9 of 31 Page ID #:9




      15.    Throughout their drive, DOMINGO pointed out possible

targets to the CHS, including police cars, churches, and a

National Guard Armory.        At one point, DOMINGO stated ~~This is

the business street [.        .] the Yahud come here on Saturday.

They're all up and down the street, but there's cameras

everywhere.     I mean it's a business you know."           The CHS said,

~~if you really want to do it, you can't just, you can't just go

online and do it, you know?        You're going to end up like-"

DOMINGO interrupted the CHS and said, `~A martyr."             The CHS

replied, "No.        They going to put you in jail."        DOMINGO replied,

"If they catch me alive."        The CHS replied, `okay, you going to

go shahid?9    You going to kill one or two?        What's the plan?        You

tell me [.      .]     You have a plan?"    DOMINGO replied, `something

has to be done."

      16.    Moments later, DOMINGO said ~~I know what you're

saying.     We should plan."     The CHS replied ~~I mean I don't want

to get caught.        Your plan is just to go and get caught.        That's

your plan."     DOMINGO replied ~~Martyrdom, bro."          The CHS said,

~~It's better not to get caught."         DOMINGO said ~~Better not to be

taken alive.     But [.     .] I have many magazines."         DOMINGO said

he had nine ~~AK magazines," five of which were loaded, and

described to the CHS the guns that he owned.              After DOMINGO said

"They're all legally under my name," the CHS said "That's not

going to work.        We're going to get caught."     The CHS said, ~~No

[.    .]    Well to be fair, yeah. [.        .]   Okay.     So we plan [. .


     9 Based on my training and experience and the totality the
facts, "go shahid" is used here to mean "become a martyr."

                                      8
Case 2:19-mj-01751-DUTY Document 1 Filed 04/27/19 Page 10 of 31 Page ID #:10




 .]   We plan.     We take our time.       You know we just, we cruise.

 We chill.      We chill for a bit."

         17.   During the meeting, DOMINGO pointed out a church and

 said ~~there's another one [.         .] I mean this is the land of

 kuffar,10 brother."     The CHS said ~~You want to go after church?

 What do you want to hit?      Churches or like the military base?

 Which one do you want to show me?"          DOMINGO replied ~~We can

 always hit the cops."      The CHS again expressed concern about

 DOMINGO conducting an attack using guns registered in his own

 name, and asked if the bullets were also registered in his name.

 DOMINGO said the bullets were not registered, and he used gloves

 to handle the bullets so his fingerprints would not appear on

 them.

         18.   The CHS then said that he knew someone who ~~used to

 make IEDs."      DOMINGO replied ~~That's even better."     The CHS

 described how an IED could be placed under a car and detonated

 with a timer.      The CHS and DOMINGO then arrived at the mosque

 and went inside for several minutes to pray.          When they left the

 mosque, the CHS said the CHS would talk to ~~the brother, and

 see."     DOMINGO replied ~~He can make IEDs?"      The CHS replied that

 the brother could not make IEDs, but the CHS would see if the

 brother knew someone else who could.          The CHS drove DOMINGO back

 to DOMINGO's house, and DOMINGO said, ~~We'll keep in touch [. .

 .] You have my number.      I have yours."



      10 Kuffar is the plural form of an Arabic word referring to
 non-believers or infidels, likely used by DOMINGO to refer to
 non-Muslims.

                                       D
Case 2:19-mj-01751-DUTY Document 1 Filed 04/27/19 Page 11 of 31 Page ID #:11




 D.    DOMINGO Proposes Conducting a Drive-By Shooting

       19.   On March 20, 2019, DOMINGO sent the CHS a private

 message of a photograph of an AK-style rifle alongside a piece

 of paper with a handwritten caption, ~~USERNAME 1 [.         .]

 3/20/2019."     The rifle depicted in the photograph appeared to

 feature a foldable metal stock, an attached sling, and a

 detachable high-capacity ammunition magazine that DOMINGO keeps

 at his house.     DOMINGO explained to the CHS that the rifle had a

 "foldable stock for drive by" and that he `took off wooden stock

 [.    .] replaced it with wire [.       .] cuz wire can fold."      Based

 on my training and experience and knowledge of this

 investigation, I believe DOMINGO's reference to replacing the

 rifle's wooden stock with wire for a `drive by" means that

 DOMINGO modified his rifle so that it could be handled and fired

 more easily from inside a vehicle.

       20.   Later that day, DOMINGO sent a message to the OCE

 containing a similar photograph of his rifle.        DOMINGO asked the

 OCE to send a timestamped photograph in return and stated ~~like

 what I did with my ak [.      .] i time stamped it [.      .] so u

 know its mine [.      .] and i aint fed [.     .] (cuz my ak

 configuration is illegal afll) lol."      DOMINGO said he thought

 there may be a "snitch" in the message group.        When the OCE

 assured DOMINGO that everyone had to be invited, DOMINGO

 responded, ~~inshallah [.     .] tho if I do, do anything that is

 [.    .] go dark [.     .] for a bit [.      .] and I'll see you up




       11 AF is slang for ~~as fuck," meaning very.

                                    10
Case 2:19-mj-01751-DUTY Document 1 Filed 04/27/19 Page 12 of 31 Page ID #:12




 there [.     .] if allah wills l01."12    Based on my training and

 experience, I believe ~~up there" is a reference to paradise, or

 heaven, and DOMINGO expects to earn his place in paradise by

 d ying through violent jihad.

 E.    DOMINGO Meets with the CHS on March 22, 2019 and Discusses
       His Intent to Commit a Terrorist Attack

       21.    On the evening of March 22, 2019, the CHS and DOMINGO

 met again to eat dinner and attend a prayer service.         The

 meeting was audio recorded.       During that meeting, as detailed

 below, DOMINGO discussed with the CHS different plans for

 committing an attack.

       22.    DOMINGO asked the CHS if the CHS saw his ~~AK,"

 apparently referencing the photograph DOMINGO had sent the CHS

 of his rifle.       DOMINGO spoke about some modifications he made to

 the rifle and added ~~So when we decide to act or when I decide

 to act, I can keep it, like, you know when it's the wood, it's

 gonna be like, you know, it's gonna be uncomfortable [.            .] in

 the car [.     .]    With the wire, you can fold it."

       23.    The CHS replied that DOMINGO had just converted to

 Islam and was ~~so pure," and stated "You don't need to, like you

 don't have to do this.      You know that, right?    You're pure."

 DOMINGO responded by pointing out a police car, stating ~~That's

 the police," and describing how police cars have bullet proof

 glass but police officers ~~roll their window down sometimes."



      12 ~~Lol" is short-hand for ~~laugh out loud." DOMINGO also
 stated he had to ~~show off," but added, ~~martyrdom to me is like
 [heart-eye emojis]." DOMINGO later stated he was just a
 believer who was ~~mad atm." Again, ~~atm" means "at the moment."

                                     11
Case 2:19-mj-01751-DUTY Document 1 Filed 04/27/19 Page 13 of 31 Page ID #:13




       24.    DOMINGO and the CHS then discussed practicing Islamic

 prayers, and the CHS again said how DOMINGO was ~~pure."        DOMINGO

 replied ~~To be fair though, most people here are shit [.         .]

 Everyone I know are like, they're like fake, you know [.          .] I

 always said that's fine, I'm just like, fuck 'em.        I don't care

 about them.     They don't care about me.    They don't care about

 the deen."13    The CHS replied that Allah would reward DOMINGO for

 being patient, and DOMINGO replied ~~But you know [.         .] A lot

 of the times, it's a fucking these Kuffar that start the beef,

 right?"     The CHS said, ~~Yeah, they do, yeah."    DOMINGO replied,

 ~~So you know, if they start it, I'm gonna finish it.        You know,

 one way or another I'm gonna finish it.       Like we can handle it

 b y fighting.    We can handle it throwing bullets at each other,

 what you wanna do bro, like murder me, kill me, I'll die

 Shahid."

 F.    DOMINGO Speaks with the CHS on March 27, 2019 to Discuss
       His Plans to Conduct a Terrorist Attack

       25.   On March 27, 2019, DOMINGO called the CHS via the

 platform to tell the CHS that he was upset with his neighbor and

 wanted to kill him.     DOMINGO identified the neighbor as an enemy

 of the ~~Ummah"14 and said that his blood was ~~halal."15      The CHS


      13 Based on my training and experience, I understand that
 the term the deep is an Arabic word referring to one's faith or
 religion.
      14 Based on my training and experience, I understand that
 Ummah is an Arabic word referring the worldwide nation or
 community of Muslims.
      is Based on my training and experience, I am aware that the
 term ~~halal" is an Arabic word meaning religiously permissible.
 DOMINGO also made reference to a personal dispute with the
 neighbor involving trash on DOMINGO'S lawn.

                                    12
Case 2:19-mj-01751-DUTY Document 1 Filed 04/27/19 Page 14 of 31 Page ID #:14




 repeatedly tried to calm DOMINGO down.       DOMINGO said that they

 were in the ~~heart of the enemy" and that if "martyrdom is just

 around the corner," there is nothing DOMINGO can do.

         26.   DOMINGO said he could stage the attack like a

 burglary, and that murders go unsolved all the time.         DOMINGO

 said they needed to ~~start small," before building up to an

 attack of a larger scale, because they were bound to "fuck up"

 the first time.      DOMINGO said if he killed his neighbor, it

 would test the response time of the police, and that the

 response time would likely be slower than at a National Guard

 Base.

 G.    DOMINGO Meets With the CHS on April 3, 2019 and Proposes
       Using IEDs and Firearms to Attack Police Officers and
       Military Service Members in Los Angeles

         27.   On the evening of April 3, 2019, the CHS and DOMINGO

 met in person.     The meeting was audio and video recorded.

 During that meeting, as detailed below, DOMINGO reaffirmed his

 intent to commit a large-scale attack in the Los Angeles area,

 and described using firearms and IEDs to do so.

       28.     DOMINGO told the CHS that he was jealous of a person

 they both spoke to on the platform who had more guns than he.

 The CHS said the person "was talking about like IEDs and stuff,"

 and DOMINGO told that person, ~~an IED here, on the freeway?

 That would do damage. [.      .]   An IED, like the ones in Iraq [.

 . .] blows up on the freeway, hundreds and maybe thousands of US

 citizens injured."     When the CHS asked ~~And then what?" DOMINGO

 said ~~Then the fun starts."



                                    13
Case 2:19-mj-01751-DUTY Document 1 Filed 04/27/19 Page 15 of 31 Page ID #:15




       29.   DOMINGO stated he wanted to ~~make 'em bleed, like in

 Ramadi" and ~~Fallujah."    DOMINGO said, ~~a dead police that will

 get, like, that will get like the police riled up.        But I need

 you bro, just the one IED that's going to stir up the hornet's

 nest, bro."

       30.   DOMINGO reiterated his intent to conduct an attack for

 ~~our brothers in Christchurch and our sisters who were

 slaughtered."    DOMINGO also said he was ~~not afraid to die a

 martyr."

       31.   DOMINGO said his plan was to ~~go in fast" and ~~raid,"

 rather than engage in a battle and try to ~~hold positions."

 DOMINGO said he intended to ~~kill enemies here and there, then

 we flee," similar to the ~~insurgency" in Iraq.       DOMINGO said if

 they caused ~~small casualties here and there," that would `put

 the stress" on America and lead to martial law.

       32.   DOMINGO said that although such a hit-and-run strategy

 was more like the tactics used by `~Zawahiri,"16 and he would

 prefer to operate like ~~al-Baghdadi" and fight a ~~battle," that

 was not feasible because he and the CHS did not have enough

 manpower to succeed in such a battle.       DOMINGO expressed support

 for ISIS and said if ISIS ~~came here," he would swear allegiance

 to ISIS.

       33.   The CHS said law enforcement in Europe had caught the

 Turkish man who had recently killed three people in the

 Netherlands.    DOMINGO replied that he ~~had a feeling they were


      16 Based on my training and experience, I believe `~Zawahiri"
 is a reference to Ayman al-Zawahiri, the leader of A1-Qa'ida.

                                    14
Case 2:19-mj-01751-DUTY Document 1 Filed 04/27/19 Page 16 of 31 Page ID #:16




 gonna catch him," and explained that the Netherlands is small

 and crowded, and ~~he probably didn't plan it right."        The CHS

 said ~~you have to be patient."     DOMINGO replied ~~Oh I know but

  you know, I want to do it."     The CHS replied ~~Show me how you

 want to do, show me."

       34.    DOMINGO said ~~So what I'm thinking is, yea, we start

 small."     DOMINGO then drew a diagram and explained multiple

 scenarios for how he could attack police officers.        He then

 described a scenario in which he could attack LAPD officers.           He

 also described another scenario, which he described as ~~really

 balk y," in which he and the CHS would pull alongside a police

 car stopped at a red traffic light with its windows down and

 shoot into the car.     DOMINGO said he had seen a police car with

 its windows down while he and the CHS were riding in the CHS's

 car in their first meeting, on March 18, 2019.        DOMINGO later

 clarified that, in this scenario, he would want to get out of

 his car to ~~burn the vehicle, like dawla"l~ with ~~lighter fluid,

 oil, [or] gasoline," in order to destroy the cameras in the

 police car, causing a longer investigation and making ~~1ife a

 little more difficult."     DOMINGO then stated ~~Inshallah, if

 that's all I can do to these kaffir, then wallahi, I'm down."

       35.   Later during the meeting, DOMINGO ripped up the

 diagramla he had drawn, and told the CHS they had ~~just talked




      17 Based on my training and experience, I know that the term
 "dawla" is commonly used by violent extremists to refer to ISIS.
      1a The CHS later recovered the pieces of the diagram, and
 law enforcement was able to reassemble them.

                                     15
Case 2:19-mj-01751-DUTY Document 1 Filed 04/27/19 Page 17 of 31 Page ID #:17




 about some serious shit," including "murdering police" and

 "murdering people."       DOMINGO believed what he had just discussed

 with the CHS would result in "a lot of charges already" and

 warned that the CHS was in "deep shit."       DOMINGO believed his

 discussion with the CHS could result in a "conspiracy charge"

 and told the CHS "We broke federal law."       DOMINGO said "You

 can't expect to do these kind of things and remain anonymous

 forever [.     .]    At some point, they're gonna know and you gotta

 be a man and you gotta stand your ground."       When the CHS pointed

 out that they could get caught eventually, DOMINGO replied "Then

 we're gonna die Shahid."

 H.    DOMINGO Meets With the CHS on April 19, 2019 and Discusses
       Using IEDs and Firearms to Attack an Upcoming Rally

       36.   On the evening of April 19, 2019, DOMINGO again met

 with the CHS.       DOMINGO arrived wearing camouflage pants and

 holding a backpack containing an AK-47 style rifle partially

 covered by what appeared to be a shirt.       Upon DOMINGO'S arrival,

 the CHS expressed surprise that he had brought the rifle, and

 DOMINGO replied ~~If we're going to commit-- if we're going to

 commence fighting, jihad, yeah, fi sabilillah,19 you gotta

 remain."    The CHS said the CHS did not want DOMINGO to get

 caught carrying a gun, and DOMINGO replied that it was common in

 Los Angeles to carry a gun.       Later in the night, the CHS

 remarked again that when DOMINGO arrived with the rifle, the CHS




      19 Fi sabillillah is an Arabic term meaning "In the way of
 God/jihad in the way of God," or "for the sake of God," or "for
 the cause of God."

                                     16
Case 2:19-mj-01751-DUTY Document 1 Filed 04/27/19 Page 18 of 31 Page ID #:18




 thought he was crazy, and DOMINGO replied ~~I just wanted to show

 you that I'm serious."

       37.    DOMINGO asked about homeless people (appearing to

 refer to individuals located outside the meeting location), and

 said ~~If you want, you know what I'm saying20 [.         .]   You' re not

 ready, huh? You're not ready."       The CHS said the CHS had been

 ~~really thinking about it" for the past two weeks and ~~wanted to

 see how serious" DOMINGO was.        DOMINGO said he was serious, and

 added, ~~if you're not ready tonight, then okay."         The CHS said

 "you want to do it tonight?      Where?"      DOMINGO said he did not

 know, and was tired, but that it was a ~~holy day for yahud" and

 for Christians, who were celebrating Passover and Easter.             The

 CHS said, ~~so that's it?    You wanna do it?       You have, like,

 where?"     DOMINGO said, ~~Anywhere."     The CHS replied, ~~You're not

 serious.     Are you serious?"   DOMINGO replied, ~~I'm serious [. .

 .] sooner or later, this was gonna happen."

       38.    The CHS and DOMINGO then prayed and ate, after which

 DOMINGO said, ~~We don't have to do this.         But we do this for our

 brothers and sister across the world, oppressed, yeah?"

       39.    During the meeting, the CHS said, ~~So you remember,

 like, IEDs?"     DOMINGO said, ~~You want to?"      The CHS said, ~~if

 you want to, I might know someone."          DOMINGO replied ~~If you

 know someone, that's perfect [.           .] but does he know how to

 make it?"     The CHS said he did.    DOMINGO said ~~So he can write




      20 Based on my training and experience and the totality of
 the facts, DOMINGO seemed to suggest an attack in the form of
 shooting homeless people.

                                      17
Case 2:19-mj-01751-DUTY Document 1 Filed 04/27/19 Page 19 of 31 Page ID #:19




 down instructions on how to make it?"       The CHS replied,

 ~~Probably."    The CHS said the person was from Iraq.       DOMINGO

 said ~~Okay, tell him this.     Write down the instructions,

 clearly, and then wallahi.      You can't buy these ingredients en

 masse, you know that [.       .] because that's more suspicious than

 buying guns."     The CHS said ~~How then?"    DOMINGO replied, ~~We'll

 buy it little by little [.       .] so it's not suspicious."      The

 CHS said, "but where can you buy it from?"        DOMINGO replied by

 naming three home improvement stores and said "They're

 everywhere.    Here's the thing, the average person can make

 explosives."     The CHS said, ~~they can?"    DOMINGO said, ~~Yeah,

 it's easy.     It's not easy, but it's not hard.     If they put the

 time into it, everyone can make explosives.        But obviously,

 wallahi, they don't want to.      Because, you know, why would you?

 Only a terrorist would waht to, right?"

       40.    During the meeting, DOMINGO said, ~~The IEDs would do

 more damage and would be better to transport [.         .]    We'll both

 make it, I just don't know how.      I'll be honest.    I'm smart in

 history but I failed chemistry.      Science is not my forte [.          .]

 So if that brother is willing to make it for us.         ."    The CHS

 said, ~~Should I talk to him?     What do you think?"    DOMINGO

 replied, ~~Talk to him, if not make it.       If he doesn't want to

 make it, don't force him.      But ask him how.    Details. [.      .]

 Fucking to the letter details.      Ask him."

       41.    DOMINGO then asked, ~~Do you think he's a snitch?         Do

 you think he'll tell the feds?"      The CHS replied, `~I can

 guarantee he's not going to."      DOMINGO replied, ~~If he's not
Case 2:19-mj-01751-DUTY Document 1 Filed 04/27/19 Page 20 of 31 Page ID #:20




 gonna tell the feds, then you can talk to him."         The CHS said,

 ~~but he's not gonna, like, have the same ideas."        DOMINGO

 replied that was OK, and "if he doesn't want to take part, don't

 make him take part.     But that is an avenue we shouldn't waste,

 and we should ask him, if you're not gonna help, can you at

 least teach me how?"

       42.   DOMINGO instructed the CHS to remind the associate

 what was happening to Muslims.      DOMINGO stated ~~just remind him,

 you know, like, bro, al-Sunnah wal-Jummah is under attack.            And

 I know you have a family and I'm not gonna force you."         DOMINGO

 asked how the CHS knew the associate, and the CHS said they were

 at the same Mosque and the associate had been criticizing

 America.    DOMINGO said, "does he hate kuffar?"       The CHS said "He

 hates kuffar, but because he has a family, he doesn't want to

 get involved."    DOMINGO replied ~~That's understandable [.          .]

 Talk to him some more [.      .] You can be casual about it.       Have

 you ever made explosives?      Like, Naha, a joke.     You can get bits

 and pieces."

       43.   DOMINGO also brought up an upcoming April 28, 2019

 rally in Long Beach organized by a ~~white nationalist" group,

 and told the CHS it was going to take place at Bluff Park.            The

 CHS asked, ~~So what's the plan?"        DOMINGO said, ~~We'll have to

 scope out the area.     We'll have to keep up everyday updates

 about the rally, because at any point they can cancel it."            The

 CHS asked DOMINGO how he heard about the rally, and DOMINGO said

 he heard about it on the news and online.         The CHS asked how

 DOMINGO wanted to carry out the attack, and DOMINGO said,

                                     19
Case 2:19-mj-01751-DUTY Document 1 Filed 04/27/19 Page 21 of 31 Page ID #:21




 ~~Parking's gonna be an issue.     We could do hit and run [.       .]

 We drive by, we empty a magazine or two.       An AK.     And we book

 it."

        44.   The CHS asked ~~but you said the IED will do more

 damage?"     DOMINGO replied that ~~the IED will do more damage,"

 and ~~we can make it before.     It's coming up.      We have two weeks

 [.     .] ask your brother.    Ask the brother."      The CHS said ~~so

 if we make it before, we can actually-[.]"         DOMINGO interrupted

 and said "Detonate.     Yes we can detonate it in a crowd.       Which

 would be perfect."

        45.   DOMINGO then reiterated that he did not know how to

 make the IED himself, and said, ~~I need you to talk to him, and

 I need you to make sure he's not a snitch."          DOMINGO instructed

 the CHS to ~~have him write it down, and then we'll see.         We can

 make it.     Even a small IED would do damage in a crowd. [.        .]

 The human body is very easy to break.       A grenade can do a lot of

 damage, but a big IED just in a backpack, in a crowd?          You're

 looking at least 20 people dead, maybe, maybe 30 people injured,

 so around 50 at least."     The CHS said, ~~That's going to be the

 headline."     DOMINGO replied, ~~I think if we do the IED route we

 are going to storm.     Remember the Tsarnaev brothers, the Boston

 bombers, it stirred up a hornets nest [.        .]    If we do this, LA

 is going to be locked down."

        46.   The CHS said ~~are you sure you want to do this, I am

 serious are you serious?"     DOMINGO replied ~~I am serious, I want

 to do the IED route, which is somewhat the better idea.          An IED

 will do a lot more damage crowd wise.       We bring it and leave it

                                    20
Case 2:19-mj-01751-DUTY Document 1 Filed 04/27/19 Page 22 of 31 Page ID #:22




 in the car.     We each bring a different set of clothes [.       .] so

 we can escape [.      .]   we can change in the car, be honest bro

 we possibly can change in the crowd.        We can pretend we are

 injured and take off clothes and change.        The best disguise is

 one in plain sight.     So if the IED thing is sounding more

 serious and a better plan than going spraying and praying."

       47.    The CHS asked if they would be able to change into

 different clothes, and DOMINGO replied ~~Perhaps, we are going to

 leave the IED in a crowded spot."        The CHS asked ~~what if we

 have an IED and they cancel?"      DOMINGO replied ~~OK now we have

 an IED that we can use at our disposal."

 I.    DOMINGO Purchases and Supplies Materials to Create and Use
       a Weapon of Mass Destruction

       48.    On April 22, 2019, the CHS wrote in a private message

 to DOMINGO "I talk to the brother and he said he's willing to

 help us but we have to get him the stuff tonight And he's going

 to come tomorrow to pick it up."        DOMINGO asked if the CHS could

 ~~get it all," and the CHS said no, they should split up

 purchasing different parts of the IED so they could avoid

 detection.     The CHS said "I will buy some and you will buy some

 [.    .]    So your part is:   Christmas lights but no LEDs And

 shrapn el]     We have to buy the part tonight because he's going

 to come tomorrow to pick it up so he can build it And I will buy

 the pressure cooker and a remote control."        DOMINGO asked "what

 about nails?"    The CHS said "Like nails or [screw] driver

 whatever goes inside."




                                    21
Case 2:19-mj-01751-DUTY Document 1 Filed 04/27/19 Page 23 of 31 Page ID #:23




         49.    Shortly thereafter, law enforcement officers observed

 DOMINGO drive to multiple home improvement stores.        At one store

 officers saw DOMINGO purchase several large boxes of nails from

 a self-service kiosk using a debit card.       Agents later obtained

 closed-circuit television video and transaction records from the

 store, which showed that DOMINGO purchased approximately eight

 pounds of three-and-a-half-inch and longer nails using his debit

 card.

         50.    Later that day, DOMINGO wrote the CHS again and asked

 ~~u wanna try n pick up what I buy today or tomorrow."        The CHS

 said ~~Maybe today because we have to give it to him tomorrow."

 DOMINGO replied ~~got nails lookin for lghts."       The CHS said the

 CHS would look for the lights the next day, and DOMINGO replied

 `~I can reimburse you tomorrow."

         51.    On the evening of April 23, 2019, DOMINGO again met

 with the CHS.       The meeting was audio and video recorded.

 DOMINGO walked in with a bag containing the boxes of nails he

 had purchased the day before.       DOMINGO examined boxes of remote

 control race cars that the CHS had obtained and placed on the

 table.

         52.    The CHS told DOMINGO that they ~~don't have to do

 this."        DOMINGO said that the event in Long Beach may be

 cancelled, and proposed attacking a different ~~White

 Nationalist" rally in Huntington Beach, California, on Saturday,

 April 27, 2019.       DOMINGO said the Huntington Beach rally would

 be on the beach, which may make it more difficult to kill as

 many people because it was a wide open space.        DOMINGO said the

                                      22
Case 2:19-mj-01751-DUTY Document 1 Filed 04/27/19 Page 24 of 31 Page ID #:24




 Santa Monica Pier would provide a better space for an attack,

 particularly during the summer when it was crowded, because it

 was a more enclosed space and people would not be able to escape

 from a blast.     DOMINGO said that detonating an IED with a timer

 on the Santa Monica Pier would cause a lot of casualties.

       53.    DOMINGO confirmed that he had bought three-inch nails

 to provide to the UC to use in making IEDs.        DOMINGO said he

 specifically bought three-inch nails because they would be long

 enough to penetrate the human body and puncture internal organs.

       54.    DOMINGO examined the remote control cars that the CHS

 had purchased and saw that the remote controls would work only

 up to a distance of 100 feet.      DOMINGO expressed concern that

 the blast radius would extend beyond 100 feet.        The CHS said

 perhaps the remote controls could be modified so that they would

 work from a distance of more than 100 feet.       DOMINGO then said

 that if they conducted the attack at the Santa Monica Pier, he

 would remain on the pier and detonate the IED, but the CHS

 should stay further away and leave the scene after the IED

 detonated.    DOMINGO said he would bring his gun, and was not

 afraid to die a martyr.

       55.    DOMINGO showed the CHS a map of the Santa Monica Pier

 on his phone, and pointed out locations where they could stand

 near the entrance to the pier.

       56.   After about 45 minutes, the UC arrived.      DOMINGO asked

 the UC if the remote control could be modified to detonate the

 IED from up to three quarters of a mile away.        DOMINGO showed

 the UC the boxes of three-inch nails he had bought, and told the

                                    23
Case 2:19-mj-01751-DUTY Document 1 Filed 04/27/19 Page 25 of 31 Page ID #:25




 UC the nails were long enough to kill their intended victims, so

 long as the nails did not get bent in the blast.

       57.   DOMINGO explained to the CHS and the UC that they were

 discussing a very serious matter, and even talking about it was

 a crime.    DOMINGO asked the UC how long it would take to make

 the IED, and the UC said it would take a few days.

       58.   DOMINGO asked again about the 100-foot reach of the

 remote control, and the UC suggested they could use a timer

 instead of a remote control to detonate the device.         DOMINGO

 replied that ~~would be perfect," because with a timer "we can

 bail" and watch the blast from a safe distance.

       59.     DOMINGO said they should consider delaying the

 operation because he wanted to finish reading the Quran and

 experience Ramadan, which would be starting on May 5, 2019.            The

 UC again said they should all agree they would not pressure each

 other.

       60.   DOMINGO gave the UC his phone number and said he would

 get back in touch in a few days.        DOMINGO stressed that they

 should talk only on the platform, and cautioned the CHS and UC

 that what they were talking about were ~~federal charges."        He

 offered to buy more parts for the IED if the UC needed them, and

 said he would let them know when he was ready to proceed with

 the operation and when the UC should complete the IED.         The UC

 asked how he would know when DOMINGO was ready for him to

 complete the IED.    DOMINGO said he would send the UC a message

 containing a photograph, like a ~~meme," which would be the ~~go

 ahead" for the operation.

                                    24
Case 2:19-mj-01751-DUTY Document 1 Filed 04/27/19 Page 26 of 31 Page ID #:26




 J.    DOMINGO Finalizes His Attack Plans

       61.   On the evening of April 24, 2019, DOMINGO spoke to the

 CHS online.    DOMINGO said was angry and had a rough day at work.

 The CHS said the UC had said people were talking about going to

 the Long Beach rally so it seemed the rally was really

 happening, and they could execute the operation as previously

 planned.

       62.   DOMINGO replied that he did not want to rush into the

 operation, and since they had talked about waiting until after

 Ramadan, he did not want to call the UC now and rush the UC to

 finish making the IED.     DOMINGO said if he had known yesterday

 that the event was going to go forward, he would have wanted to

 proceed with the operation.      The CHS replied that the UC said

 the IED could be ready in time for the event, and they could use

 the timer to detonate it and watch the explosion from a safe

 distance.    DOMINGO said, ~~the timer is great," but said, ~~Lets

 not rush into this headfirst.      If I give the go ahead [.      .]

 one of us will have to drive to Victorville" to collect the

 completed IED from the UC, or perhaps meet the UC halfway.

       63.   The CHS replied it would be great to watch the

 explosion from a distance, and DOMINGO agreed it ~~would be cool"

 to watch it but ~~ideally we should be gone" because everyone

 would be panicking and their calm demeanor may arouse suspicion.

 The CHS said they could set the timer and then go home and watch

 the blast on television, and DOMINGO said he did not need

 publicity, and would ~~rather just hear about it on 4chan."




                                    25
Case 2:19-mj-01751-DUTY Document 1 Filed 04/27/19 Page 27 of 31 Page ID #:27




 DOMINGO said, ~~I know it's gonna be big. [.        .]   Let me just

 sleep on it."

       64.     The CHS said the CHS was ready to go forward with the

 operation, and DOMINGO asked if the CHS already told the UC to

 complete the IED.      The CHS said no, and DOMINGO said they should

 not contact the UC over the phone.       DOMINGO continued, ~~Fuck,

 it's a good opportunity.      But let me sleep on it."    DOMINGO said

 he was worried they were ~~rushing into this too hastily," and he

 wanted to act while they were all ~~motivated," but also wanted

 to be ~~calculated."     He continued ~~I say me and you we'll sleep

 on it.      If [the UC's] down, I don't have a problem with it."

 The CHS said they could proceed with the operation and still

 conduct more attacks after Ramadan, and DOMINGO replied ~~We can.

 Let's just sleep on it.     If we're still as motivated, we'll give

 the go-ahead.     I'll give the go-ahead."

       65.    The CHS suggested they could place the IED the night

 before the event, but DOMINGO said that would be too risky

 because people might see it.      The CHS suggested placing the IED

 in a trash can to conceal it, but DOMINGO said the rally

 attendees would be unlikely to gather near a trash can, so

 putting the IED in a trash can would not result in a lot of

 deaths.     DOMINGO proposed instead that they go to the event ~~as

 it's happening" and place the IED where people were gathering.

 The CHS offered to carry the IED into the event, but DOMINGO

 replied, ~~I was thinking I'd do it.     I'd blend in."    The CHS

 said the UC also could blend in with the ~~Nazis" because the UC

 was Caucasian.     DOMINGO replied he was ~~ready," but ~~this shit

                                    26
Case 2:19-mj-01751-DUTY Document 1 Filed 04/27/19 Page 28 of 31 Page ID #:28




 we're talking about isn't easy."        DOMINGO suggested again that

 they sleep on it, and if ~~we're still feeling pumped by lunch,"

 then DOMINGO would contact the UC to proceed with the operation.

         66.   The next day, at approximately 12:00 p.m., DOMINGO

 sent the UC a message containing a photograph of a crescent moon

 and skyline.      Based on my training and experience and knowledge

 of this investigation, I believe this was the ~~go ahead" meme

 that DOMINGO had told the UC he would send when he was ready to

 proceed with the operation.

         67.   The UC responded, ~~Okay I hear and obey."    DOMINGO

 wrote ~~im waiting for the homies text, I think the kick back is

 gonna be on the weekend?"      The UC replied ~~I need to wrap the

 presents to make them fit in at the party spot."        DOMINGO wrote

 ~~okk do what you need to do the party is on the weekend tho u

 didn't have to do all this today."       The UC responded that it was

 OK and ~~the presents will be ready tomorrow morning."        DOMINGO

 replied "if ur sure ok then keep em somewhere no one will fuck

 with em."

         68.   The UC asked DOMINGO for help with wrapping the

 "presents" and asked `ado you know what the party spot looks

 like?     I want to match the wrapping with what's natural."

 DOMINGO replied ~~you don't have something like convenient like a

 bag y go thru the trouble."

       69.     The next morning, April 26, 2019, DOMINGO wrote to the

 UC, ~~are you coming to LA?"     The UC replied ~~Yeah akhi after I

 finish the last piece of the presents."       DOMINGO replied ~~keep

 the presents somewhere safe lol."       The UC said the UC wanted to

                                    27
Case 2:19-mj-01751-DUTY Document 1 Filed 04/27/19 Page 29 of 31 Page ID #:29




 ~~stay in la for the party" and DOMINGO replied `~ok no prob im

 sure [the CHS's] couch is good."

         70.     DOMINGO said he was going to Victorville to see

 someone and the UC replied ~~we need to plan the party today in

 sha Allah heading to [Victor]ville after the party is a good

 idea."        DOMINGO replied ~~I'll talk with [the CHS] on [the

 platform] considering our scheds it spud be simple [.            .] tho

 find the parties address and show up but like I said the prayer

 times so we'll jus say hi n go."           The UC said ~~Ok inshaAllah

 place is crucial Youre good at this akhi," and DOMINGO replied

 ~~im just practical albeit blunt as shit."

       71.      DOMINGO said he was going to work out, shower, get

 groceries, pray, then `gill be on my way afternoon."          DOMINGO

 wrote "u want me to pick u up?        Is that what u had in mind??        I

 mean I think the party is on Sunday [.            .] so we got time ya

 kno."    The UC wrote that they needed to meet that day and

 DOMINGO replied ~~if you insist prolly later tonight then," and

 agreed to meet the UC and CHS at 7:00 p.m.

       72.      At approximately 7:15 p.m., DOMINGO met with the UC

 and CHS to finalize plans for the operation.           The meeting was

 audio and video recorded.        The UC showed DOMINGO how to operate

 what DOMINGO thought were completed IEDs.           DOMINGO said they

 should set the timer on the IEDs for 5 to 30 minutes.

       73.      DOMINGO then drove the UC and the CHS to Bluff Park in

 Long Beach to surveil the location for the attack.           During the

 drive, DOMINGO said the plan was to arrive early in the morning

 on Sunday, before too many people showed up for the rally, and

                                       :~
Case 2:19-mj-01751-DUTY Document 1 Filed 04/27/19 Page 30 of 31 Page ID #:30




 disguise themselves as counter-protestors.       As DOMINGO drove

 past the Port of Long Beach, DOMINGO told the UC and CHS that if

 they survived the attack on Sunday, they could conduct further

 attacks, including at the Long Beach Port, which DOMINGO said

 would significantly disrupt the U.S. economy.        DOMINGO also

 discussed initiating an attack on a train.

       74.   When they arrived at Bluff Park, DOMINGO walked around

 the location with the UC and CHS.       DOMINGO said they should try

 to find the most ~~crowded" areas in order to kill the most

 people in the attack.     DOMINGO instructed the UC and CHS that

 after they detonated the explosives, they should walk away from

 the event in separate directions and get in separate cars to

 leave the scene without being detected.

       75.   After surveilling the location, DOMINGO drove the UC

 and CHS back to their previous meeting location, where they

 again inspected the IEDs in advance of their attack.         DOMINGO

 then carried one of the IEDs out of the location to put into the

 UC's vehicle, at which point he was arrested by the FBI.

 //

 //

 //




                                    29
Case 2:19-mj-01751-DUTY Document 1 Filed 04/27/19 Page 31 of 31 Page ID #:31




                             V.    CONCLUSION

       76.     For the reasons described above, I respectfully submit

 there is probable cause to issue the reque ted criminal

 complaint and arrest warrant.

                                                            /,

                                      TASHA   OLID    Special  gent
                                      FEDERAL BUREAU OF INVESTIGATION

  Subscribed to and sworn before
  me thi~ ~C ~ day of April, 2019.

       ~   1    ~          ~----

          '~ ~ ~~
  UNITES ~3`TATES MAGISTRATE JUDGE




                                     30
